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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________

JASON BERRY,

                                 Plaintiff,
                -v-                                           9:19-CV-1570
                                                                  (DJS)

DART, et al.,

                            Defendants.
_________________________________________

APPEARANCES:                                      OF COUNSEL:

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DANIEL J. STEWART
United States Magistrate Judge

                              DECISION and ORDER

      This matter is scheduled for trial beginning February 13, 2023. Defendants filed

a Motion in Limine, which Plaintiff opposes. Dkt. Nos. 63 & 65. Plaintiff also filed a

Motion in Limine. Dkt. No. 53. The Court addresses the issues raised by those Motions

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in turn below.

                             A. Plaintiff’s Criminal Record

       Defendants seek an order permitting them to question Plaintiff as to the name,

nature and date of his crime of incarceration along with the corresponding sentences

imposed. Dkt. No. 63 at pp. 2-4. Plaintiff seeks to preclude such evidence. Dkt. Nos

53 & 65 at pp. 1-2. These Motions are granted in part.

       Federal Rule of Evidence 609 controls the impeachment of a witness by evidence

of a criminal conviction. The general rule in a case such as this is that evidence of “a

crime that, in the convicting jurisdiction, was punishable by death or by imprisonment for

more than one year . . . must be admitted, subject to Rule 403[.]” FED. R. EVID.

609(a)(1)(A). “In balancing probative value against prejudicial effect under this rule,

courts examine the following factors: (1) the impeachment value of the prior crime, (2)

the remoteness of the prior conviction, (3) the similarity between the past crime and the

conduct at issue, and (4) the importance of the credibility of the witness.” Espinosa v.

McCabe, 2014 WL 988832, at *2 (N.D.N.Y. Mar. 12, 2014) (quoting Daniels v. Loizzo,

986 F. Supp. 245, 250 (S.D.N.Y. 1997)).

       Plaintiff’s 2015 felony conviction was for drug possession. Dkt. No. 63 at Ex. A.

That crime bears little similarity to events underlying this Eighth Amendment case.

While the credibility of the party’s testimony will play a crucial part in the trial, by the

very nature of Plaintiff’s claim, the events having taken place at Auburn Correctional

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Facility, the jury will become aware that Plaintiff is a convicted felon. Given that, the

exact facts underlying the felony conviction or the specific charge are not overly probative

of Plaintiff’s credibility or the events at issue. As a result, the jury will be advised that

Plaintiff does have a felony conviction and that, as a result, he was incarcerated at a New

York State Correctional Facility, but further inquiry as to his criminal record will be

precluded.

                    B. Testimony Related to an Alleged Conspiracy

       Defendants next seek to preclude testimony from Plaintiff regarding an alleged

conspiracy among Defendants. Dkt. No. 63 at pp. 4-7. The Court’s initial Order

reviewing the Complaint under 28 U.S.C. §§ 1915(e) and 1915A dismissed any

conspiracy claim. Dkt. No. 9 at p. 18. Given that there is no conspiracy cause of action

for the jury’s consideration, the Court finds that testimony regarding the existence of a

conspiracy lacks relevance and, therefore, grants Defendants’ Motion to preclude such

evidence.

                                  C. Plaintiff’s Injuries

       Finally, Defendants seek an order precluding Plaintiff from testifying about certain

alleged injuries, given the lack of expert testimony to establish causation. Dkt. No. 63

at pp. 7-10.

       In an excessive force claim, expert testimony to establish causation of injuries is

not always required. Fernandez v. City of New York, 2020 WL 3448019, at *2 (S.D.N.Y. June

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24, 2020); Lewis v. City of Albany Police Dep’t, 547 F. Supp. 2d 191, 207 (N.D.N.Y.

2008), aff’d, 332 F. App’x 641 (2d Cir. 2009). Instead, in assessing the necessity of an

expert, courts consider whether the alleged injuries “are within the understanding of the

common juror.” Williams v. Raimo, 2012 WL 4911722, at *2 (N.D.N.Y. Oct. 15, 2012)

(citing cases). If so, expert testimony is not necessary. Id.

       Here, with respect to Plaintiff’s claims of pain and swelling in the genitals, the

Court finds that such injuries stemming from the force alleged by Plaintiff are within the

common understanding of a juror and Plaintiff need not offer expert proof with respect to

causation for these injuries. To the extent, however, that Plaintiff seeks to also testify

about sexual dysfunction and ongoing incontinence issues, the Court finds that causation

questions related to those issues would not be within that common understanding. This

Court agrees with the other courts that have concluded that “expert testimony is necessary

to establish causation for an injury such as plaintiff’s alleged erectile dysfunction.”

DeFronzo v. Conopco, Inc., 2005 WL 8177613, at *6 (N.D. Ill. June 30, 2005); see also

Brown v. Johnson & Johnson Pharm., 2015 WL 235135, at *4 (D. Conn. Jan. 16, 2015).

Not only has Plaintiff not proffered an expert on this question, but his witness list does

not identify any medical professional he intends to call to testify about these injuries.

See Dalrymple v. United States Postal Serv., 2021 WL 926721, at *7 (E.D. La. Mar. 11,

2021) (noting difficulties establishing causation absent such testimony).

       Plaintiff, therefore, may testify about alleged pain and swelling, but not about his

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claims related to alleged sexual disfunction and incontinence.                              With respect to the

admission of the December 2, 2016 radiology report, the Court finds that while it may be

relevant to Plaintiff’s claims, its admissibility at trial will depend on whether a proper

foundation can be laid for the document and whether Plaintiff can offer admissible

testimony about the report itself. 1                The Court, therefore, reserves decision on that

question until trial when the parties can make appropriate arguments.

         ACCORDINGLY, it is hereby

         ORDERED, that the pending Motions in Limine are Granted in Part and Denied

in Part as set forth above; and it is further

         ORDERED, that the Clerk of the Court serve a copy of this Decision and Order

upon the parties to this action.

Dated: February 7, 2023
       Albany, New York




1
 It is unclear at this point, for example, whether a medical professional discussed this report with Plaintiff such that
he could testify about what he was told.
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